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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 11
: No.08-13141(KJC)
TRIBUNE COMPANY, ET.AL. : JOINTLY ADMINISTERED
: No. 08-13185(KJC)
Debtor : No. 08-13235(KJC)

NOTICE OF AMENDED MOTION, RESPONSE DEADLINE AND HEARING
DATE

Jayne Clement has filed an Amended Motion for Relief From the Automatic Stay
under 11 USC Section 362(d) to Allow for Prosecution of her Pre-Petition Individual and
Class Action Suits in the Superior Court of California, County of Los Angeles

YOUR RIGHTS MAY BE AFFECTED. You should read these papers
carefully and discuss them with your attorney. (If you do not have an attorney, you
may wish to consult with an attorney.)

1. If you do not want the Court to grant the relief sought in the motion or if
you want the Court to consider your views on the motion, then on or before June 18,
2009, you, or your attorney, must do all of the following:

a. file an answer explaining your position with:

Clerk for the United States Bankruptcy Court for the District of Delaware
824 North Market Street

3” Floor

Wilmington, DE 19801

If you mail your answer to the bankruptcy clerk’s office for filing, you must mail
it early enough that it will be received on or before the date stated above; and

b. serve a copy on Movant’s attorney:

Glenn A. Brown, DMD, Esquire
Real World Law, PC

916 North Union Street

No. 2

Wilmington, DE 19805
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2. If you, or your attorney, do not take the steps described in paragraphs 1(a)
and (b) above and attend the hearing, the Court may enter an order granting the relief
requested in the motion.

3. A hearing on the motion is scheduled to be held before the Honorable
Kevin J. Carey on June 25, 2009 at 10:00 AM, Courtroom 5, 5" Floor, United States
Bankruptcy Court, 824 North Market Street, Wilmington, DE 19801.

4. You may contact the Clerk of Bankruptcy Court’s office at (302) 252-
2900 to find out whether the hearing has been canceled because no one filed an answer.

REAL WORLD LAW, PC

/s/ Glenn A. Brown

GLENN A. BROWN, DMD, ESQUIRE
916 North Union Street

No. 2

Wilmington, DE 19805

(302) 225-8340
Glenn.brown@realworldlaw.com

Dated: June 8, 2009
